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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                   Criminal No.: 08-395 (RHK/JJG)


UNITED STATES OF AMERICA,              )
                                       )
                 Plaintiff,            )
                                       )            ORDER
     v.                                )
                                       )
2.   KELVIN MARTEL BRONNER,            )
                                       )
6.   LAWRENCE DARRYL PORTER, JR.,      )
                                       )
7.   LONNIE RUTHERFORD,                )
                                       )
                 Defendants.           )


      This matter is before the Court on the government's Motion to

Seal Document. Based on all the records, files, and proceedings in

this case, the Court finds that good cause exists to allow the

request.

     Accordingly, IT IS HEREBY ORDERED that the government’s motion

to seal document is GRANTED.



Dated:    June 16, 2011                s/Richard H. Kyle
                                       RICHARD H. KYLE
                                       United States District Court Judge
